The application for a writ of habeas corpus in this case is based on the same facts as are set forth in the Case ofHinkelman, ante, p. 392, [191 P. 682], decided concurrently herewith, except that Teatsen is charged with driving an empty motor truck of one-ton capacity, instead of an ordinary automobile, and equipped with a Dillon lens instead of a Warner lens. Said Dillon lens is also of the diffusive type referred to in section 13 of the Motor Vehicle Act, [Stats. 1919, p. 206]. The law on the subject of such vehicles and lenses is the same as applicable to automobiles carrying Warner lenses, and the principles stated in the case of Hinkelman are decisive of the present case.
It is therefore ordered that the said John F. Teatsen be remanded to the custody of the officer.
Lawlor, J., Angellotti, C. J., Wilbur, J., Sloane, J., Lennon, J., and Olney, J., concurred. *Page 801 